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                                           6                              IN THE UNITED STATES DISTRICT COURT
                                           7
                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           8
                                           9
                                          10   MARY OSEGUERA
For the Northern District of California




                                          11                 Plaintiff,                                        No. C 16-06372 WHA
    United States District Court




                                          12     v.
                                          13   EQUIFAX, INC.; EXPERIAN INFORMATION                             JUDGMENT
                                               SOLUTIONS, INC.; TD BANK, USA, N.A.;
                                          14   WELLS FARGO BANK, N.A.,
                                          15
                                                             Defendants.
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                                                      For the reasons stated in the accompanying order dismissing this action, FINAL
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                                               JUDGMENT IS HEREBY ENTERED in favor of Equifax, Inc.; Experian Information Solutions,
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                                               Inc.; TD Bank, USA, N.A.; and Wells Fargo Bank, N.A., and against Mary Oseguera. The
                                          20
                                               Clerk SHALL CLOSE THE FILE.
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                                                      IT IS SO ORDERED.
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                                               Dated: April 13, 2017.
                                          25                                                       WILLIAM ALSUP
                                                                                                   UNITED STATES DISTRICT JUDGE
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